                    Case 2:19-cv-00074-JTN-MV ECF No. 17,Original
                                                            PageID.82          Filed
                                                                  - Garnishee (Part 1) 02/16/21 Page 1 of 4
                                                                                  1st copy - Court (Part 2)       3rd copy - Return (proof of service) (Part 2)
      Approved, SCAO                                                              2nd copy - Defendant (Part 2)   4th copy - Plaintiff/Attorney (proof) (Part 2)
           •   STATE OF MICHIGAN                                                                                            •   CASE NO.
                    JUDICIAL DISTRICT                    REQUEST AND WRIT FOR GARNISHMENT
                     JUDICIAL CIRCUIT                              (NONPERIODIC)                                  2:19-cv-00074-JTN-MV

    Court address                                               • Zip code                                                               Court telephone no.
    401 Federal Bldg, 110 Michigan Ave. NW, Grand Rapids, MI 49503                                                (616) 456-6774
    Plaintiff's name and address (judgment creditor)                                      Defendant's name and address (judgment debtor)
•   Kelly A. Zuelke                                                                   •   AA Recovery Solutions, Inc.
    303 South Beecher Street                                                  v           4500 190th Avenue, Suite 101
    Bessesmer, Michigan 49911                                                             Clearwater, FL 33762

    Plaintiff's attorney, bar no., and address                                            Social security no.                   Account no.
•   Nathan C. Volheim (6302103)                                                       •
•   2500 South Highland Ave., Ste. 200                                                    Garnishee name and address
•   Lombard, IL 60148                                                                     Community Bank, N.A.
•   Telephone no.                                                                         5790 Widewaters Parkway
     (630) 575-8181 ext. 113                                                              Dewitt, NY 13214

     REQUEST          See instructions for item 2 on other side.

    1. Plaintiff received judgment against defendant for $ $5,144.70                on July 15, 2019                                   .
    2. The total amount of judgment interest accrued to date is $ 252.52            . The total amount of postjudgment costs accrued to
       date is $ 0              . The total amount of postjudgment payments made and credits to date is $ 0                      . The
       amount of the unsatisfied judgment now due (including interest and costs) is • $ $5,397.22                              .
    3. Plaintiff knows or with good reason believes the garnishee is indebted to or possesses or controls property belonging to defendant.
    4. Plaintiff requests a writ of nonperiodic garnishment.
    I declare that the statements above are true to the best of my information, knowledge, and belief.

    2/1/2021                                                                      V Nathan C. Volheim (6302103)
    Date                                                                           Plaintiff/Agent/Attorney signature

     WRIT OF GARNISHMENT                         To be completed by the court. See other side for additional information and instructions.

    TO THE PLAINTIFF: You must provide all copies of the disclosure form (MC 14), two copies of this writ for serving on the garnishee,
    and a $1.00 disclosure fee for serving on the garnishee. You are responsible for having these documents served on the garnishee within
    182 days. If the disclosure states that the garnishee holds property other than money belonging to the defendant, you must motion
    the court within 56 days after the disclosure is filed for an order to apply the property toward the judgment. NOTE: The social security
    number field is blacked out for security reasons on all parts except the garnishee copy.
    TO THE DEFENDANT: See separate instructions.
       1. Do not dispose of any negotiable instrument representing a debt of the garnishee or any negotiable instrument of title
          representing property in which you claim an interest held in the possession or control of the garnishee.
       2. You have 14 days after this writ is mailed or delivered to you to file objections with the court. If you do not take this action
          within this time, without further notice, the property or debt held under this writ may be applied to the judgment 28 days after
          this writ was mailed or delivered to the garnishee.
    TO THE GARNISHEE:
       1. Within 7 days after you are served with this writ, you must deliver a copy of this writ to the defendant in person or mail a
          copy to his or her last-known address by first-class mail.
       2. Deliver no tangible or intangible property and pay no obligation to the defendant unless allowed by statute or court rule.
       3. Within 14 days after you are served with this writ, you must deliver or mail copies of your verified disclosure (form MC 14)
          to the court, plaintiff/attorney, and defendant. A default may be entered against you for failure to comply with this order.
       4. If indebted to the defendant, you must withhold an amount not to exceed the amount of the judgment stated in item 2 of the
          request.Payment of withheld funds must be made 28 days after you are served with this writ unless notified that an objection
          has been filed. You are ordered to make the payment withheld under this writ payable to:
                                         the plaintiff             ✔ the plaintiff's attorney             the court
          and mail it to:                the plaintiff.            ✔ the plaintiff's attorney.            the court.
       5. If you hold property other than money belonging to the defendant, do not transfer it until further order of the court.
    2/16/2021                                                                        /s/ Michele Carlson
    Date of issue                        Expiration date for service               Deputy court clerk

    MC 13 (4/18)     REQUEST AND WRIT FOR GARNISHMENT (NONPERIODIC) (Part 1)                                                 MCL 600.4011 et seq., MCR 3.101
                    Case 2:19-cv-00074-JTN-MV ECF    No. 17, PageID.83 Filed 02/16/21 Page 2 of 4
                                               Original - Garnishee (Part 1)
                                                                      1st copy - Court (Part 2)                    3rd copy - Return (proof of service) (Part 2)
      Approved, SCAO                                                  2nd copy - Defendant (Part 2)                4th copy - Plaintiff/Attorney (proof) (Part 2)
           •   STATE OF MICHIGAN                                                                                             •   CASE NO.
                    JUDICIAL DISTRICT                    REQUEST AND WRIT FOR GARNISHMENT
                     JUDICIAL CIRCUIT                              (NONPERIODIC)                                   2:19-cv-00074-JTN-MV

    Court address                                              • Zip code                                                                 Court telephone no.
    401 Federal Bldg, 110 Michigan Ave. NW, Grand Rapids, MI 49503                                                 (616) 456-6774
    Plaintiff's name and address (judgment creditor)                                         Defendant's name and address (judgment debtor)
•   Kelly A. Zuelke                                                                      •   AA Recovery Solutions, Inc.
    303 South Beecher Street                                                      v          4500 190th Avenue, Suite 101
    Bessesmer, Michigan 49911                                                                Clearwater, FL 33762

    Plaintiff's attorney, bar no., and address                                                                                   Account no.
•   Nathan C. Volheim (6302103)                                                          •
•   2500 South Highland Ave., Ste. 200                                                       Garnishee name and address
•   Lombard, IL 60148                                                                        Community Bank, N.A.
•   Telephone no.                                                                            5790 Widewaters Parkway
    (630) 575-8181 ext. 113                                                                  Dewitt, NY 13214

     REQUEST          See instructions for item 2 on other side.

    1. Plaintiff received judgment against defendant for $ $5,144.70                on July 15, 2019                                   .
    2. The total amount of judgment interest accrued to date is $ 252.52            . The total amount of postjudgment costs accrued to
       date is $ 0              . The total amount of postjudgment payments made and credits to date is $ 0                      . The
       amount of the unsatisfied judgment now due (including interest and costs) is • $ $5,397.22                              .
    3. Plaintiff knows or with good reason believes the garnishee is indebted to or possesses or controls property belonging to defendant.
    4. Plaintiff requests a writ of nonperiodic garnishment.
    I declare that the statements above are true to the best of my information, knowledge, and belief.

    2/1/2021                                                                         V Nathan C. Volheim (6302103)
    Date                                                                              Plaintiff/Agent/Attorney signature

     WRIT OF GARNISHMENT                         To be completed by the court. See other side for additional information and instructions.

    TO THE PLAINTIFF: You must provide all copies of the disclosure form (MC 14), two copies of this writ for serving on the garnishee,
    and a $1.00 disclosure fee for serving on the garnishee. You are responsible for having these documents served on the garnishee within
    182 days. If the disclosure states that the garnishee holds property other than money belonging to the defendant, you must motion
    the court within 56 days after the disclosure is filed for an order to apply the property toward the judgment. NOTE: The social security
    number field is blacked out for security reasons on all parts except the garnishee copy.
    TO THE DEFENDANT: See separate instructions.
       1. Do not dispose of any negotiable instrument representing a debt of the garnishee or any negotiable instrument of title
          representing property in which you claim an interest held in the possession or control of the garnishee.
       2. You have 14 days after this writ is mailed or delivered to you to file objections with the court. If you do not take this action
          within this time, without further notice, the property or debt held under this writ may be applied to the judgment 28 days after
          this writ was mailed or delivered to the garnishee.
    TO THE GARNISHEE:
       1. Within 7 days after you are served with this writ, you must deliver a copy of this writ to the defendant in person or mail a
          copy to his or her last-known address by first-class mail.
       2. Deliver no tangible or intangible property and pay no obligation to the defendant unless allowed by statute or court rule.
       3. Within 14 days after you are served with this writ, you must deliver or mail copies of your verified disclosure (form MC 14)
          to the court, plaintiff/attorney, and defendant. A default may be entered against you for failure to comply with this order.
       4. If indebted to the defendant, you must withhold an amount not to exceed the amount of the judgment stated in item 2 of the
          request.Payment of withheld funds must be made 28 days after you are served with this writ unless notified that an objection
          has been filed. You are ordered to make the payment withheld under this writ payable to:
                                         the plaintiff             ✔ the plaintiff's attorney             the court
          and mail it to:                the plaintiff.            ✔ the plaintiff's attorney.            the court.
       5. If you hold property other than money belonging to the defendant, do not transfer it until further order of the court.
     2/16/2021                                                                         /s/ Michele Carlson
    Date of issue                       Expiration date for service                   Deputy court clerk

    MC 13 (4/18)     REQUEST AND WRIT FOR GARNISHMENT (NONPERIODIC) (Part 2)                                                  MCL 600.4011 et seq., MCR 3.101
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For further information on garnishments, visit MichiganLegalHelp.org.

                                                   NONPERIODIC GARNISHMENTS

Definitions
Nonperiodic Garnishment - a garnishment of property or obligations made on a nonperiodic basis, including but not limited to bank
accounts, property, money, goods, chattels, credits, and negotiable instrucments or effects. Do not use this form to garnish income
tax refunds from the State of Michigan; see Michigan statutes for specific procedures to garnish state income tax.

Additional Instructions for the Plaintiff:
You must provide information that will permit the garnishee to identify the defendant such as the defendant's address, social security
number, account number, etc.

Instructions for Item 2:
If a civil judgment does not include judgment interest in the "total judgment" field, the interest amount reported in item 2 should be
accrued from the date the complaint was filed.

If a civil judgment includes judgment interest in the “total judgment” field (as in the forms in use before the 5/07 revisions), the interest
amount reported in item 2 should not include any postfiling interest already included in the judgment.

If the disclosure states that the garnishee holds property belonging to the defendant, you must motion the court (with notice to the
defendant and the garnishee) for an order, which will tell the garnishee to take the defendant's property, sell it, and apply it toward your
judgment. If there are no pending objections to the garnishment and you have not filed such a motion within 56 days after the filing
of the disclosure, the garnishment is dissolved and the garnishee may release the property to the defendant.

Additional Instructions for the Defendant:
  1. This writ has been issued because there is a judgment against you that you have not paid. In order to collect on this judgment,
     income owed to you may be withheld or property belonging to you may be taken from you and sold.
  2. You may object to this garnishment if:
     a. your income is exempt from garnishment by law,
     b. you have a pending bankruptcy proceeding,
     c. the maximum withheld exceeds the amount allowed by law,
     d. you have paid the judgment in full,
     e. the garnishment was not properly issued or is otherwise invalid.
  3. You may send the plaintiff a written request to review postjudgment costs and fees listed in item 2 of the request. Within 28
     days after receiving your request, the plaintiff must send an itemized list of the postjudgment costs and fees to you and the court.
     Within 28 days after receiving the itemized list, you may file a motion with the court to review the postjudgment costs and fees
     if you believe they are wrong. If the judge rules in your favor, the judge may order the motion fee to be deducted from the judgment
     balance.
  4. Certain income is exempt from garnishment and the law gives you the right to claim this income as exempt to prevent it from
     being used to collect on this judgment. The following are examples of some types of income that are exempt from garnishment
     and the citations where each type may be found in the law. This is not intended as a complete list. You may want to contact
     your lawyer or legal aid agency for further assistance.

                                     EXAMPLES OF INCOME EXEMPT FROM GARNISHMENT

The following are examples of some types of income that are exempt from garnishment and the citations where each type may be
found in the law. Please note that this is not intended as a complete list. You may want to contact your lawyer or legal aid
agency for further assistance.

   •   Individual Retirement Account (IRA) - [MCL 600.6023(1)(k)]
   •   Social Security Benefits - [42 USC, Section 407]
   •   Supplemental Security Income Benefits (SSI) - [42 USC, Section 1383(d)]
   •   Aid to Families with Dependent Children (AFDC) - [MCL 400.63]
   •   General Assistance Benefits (GA) - [MCL 400.63]
   •   Unemployment Compensation Benefits - [MCL 421.30]
   •   Veterans Assistance Benefits - [38 USC, Section 3101]
   •   Workers' Compensation Benefits - [MCL 418.821]
   •   The first $500.00 on deposit in a savings and loan savings account - [MCL 491.628]
   •   Cash value or proceeds of life insurance or annuity, payable to the spouse or children of the insured - [MCL 500.2207(1)]
   •   Income benefits under the Michigan Civil Service Act - [MCL 38.40]
   •   Income benefits under the Michigan Retirement Act - [MCL 421.30]
   •   U.S. Civil Service Retirement Benefits - [5 USC, Section 8346]
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                                                                                                          REQUEST AND WRIT FOR
                                                                                                        GARNISHMENT (NONPERIODIC)
                                                               PROOF OF SERVICE                         Case No. 2:19-cv-00074-JTN-MV


TO PROCESS SERVER: You must serve the garnishee with two copies of the request and writ of garnishment, a disclosure form,
and any applicable fee, and file proof of service with the court clerk as directed by the plaintiff. If you are unable to complete service,
you must return this original and all copies to the court clerk.


                                          CERTIFICATE / AFFIDAVIT OF SERVICE / NONSERVICE

                           OFFICER CERTIFICATE                        OR                  AFFIDAVIT OF PROCESS SERVER
    I certify that I am a sheriff, deputy sheriff, bailiff, appointed           Being first duly sworn, I state that I am a legally competent
    court officer, or attorney for a party [MCR 2.104(A)(2)], and               adult who is not a party or an officer of a corporate party, and
    that:      (notarization not required)                                      that:    (notarization required)


     I served two copies of the request and writ of garnishment, a disclosure form, and any applicable fee by:
              personal service        registered or certified mail (copy of return receipt attached) on:

       Garnishee name                                    Complete address of service                                       Day, date, time




     I have personally attempted to serve the writ of garnishment, a disclosure form, and any applicable fee on the garnishee and have
     been unable to complete service.
       Garnishee name                                    Complete address of service                                       Day, date, time




I declare that the statements above are true to the best of my information, knowledge, and belief.


Service fee             Miles traveled Fee                                   Signature
$                                     $
Incorrect address fee Miles traveled Fee             TOTAL FEE               Name (type or print)

$                                     $              $
                                                                             Title


Subscribed and sworn to before me on                                                 ,                                       County, Michigan.
                                              Date

My commission expires:                                          Signature:
                              Date                                           Deputy court clerk/Notary public

Notary public, State of Michigan, County of


                                                     ACKNOWLEDGMENT OF SERVICE

I acknowledge that I have received two copies of the request and writ of garnishment, a disclosure form, and any applicable fee on

                                                                                         .
Day, date, time
                                                                     on behalf of
Signature




                                                                                                                                       MCR 2.105
